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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                     BLUEFIELD DIVISION


UNITED STATES OF AMERICA,

                               Plaintiff,

v.                                                    CRIMINAL ACTION NO. 1:09-cr-00067-02

ANTHONY IRA KRITT,

                               Defendant.



                          MEMORANDUM OPINION AND ORDER


       The Court has reviewed Defendant Anthony Kritt’s Motion to Dismiss Indictment for Lack

of Venue or, in the Alternative, to Transfer to the District of Maryland [Docket 29]; Motion to

Dismiss [Docket 34]; and Motion for Bill of Particulars [Docket 36]. By Order of Reference filed

on March 26, 2009, this Court referred this matter to United States Magistrate Judge R. Clarke

VanDervort “for the purpose of doing all things proper to hear and determine or make

recommendations for disposition of any pretrial motions filed in this case including, without

limitation, conducting a hearing on the motions, if necessary, and entering into the record a written

order setting forth the disposition of the motion or recommendation for disposition, as the case may

be.” (Docket 7 at 1). Magistrate Judge VanDervort filed his Proposed Findings and

Recommendation (“PF&R”) on November 19, 2009. [Docket 79]. In that filing, Magistrate Judge

VanDervort recommended that the undersigned deny Defendant Kritt’s motions.

       The Court is not required to review, under a de novo or any other standard, the factual or

legal conclusions of the magistrate judge as to those portions of the findings or recommendation to
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which no objections are addressed. Thomas v. Arn, 474 U.S. 140, 150 (1985). In addition, failure

to file timely objections constitutes a waiver of de novo review and Defendant’s right to appeal this

Court’s order. See Snyder v. Ridenour, 889 F.2d 1363, 1366 (4th Cir. 1989); United States v.

Schronce, 727 F.2d 91, 94 (4th Cir. 1984).

       However, a defendant must cite to specific instances of error. United States v. Midgette, 478

F.3d 616, 621 (4th Cir.2007) (stating that “[28 U.S.C. ] Section 636(b)(1) does not countenance a

form of generalized objection to cover all issues addressed by the magistrate judge; it contemplates

that a party’s objection to a magistrate judge’s report be specific and particularized, as the statute

directs the district court to review only those portions of the report or specified proposed findings

or recommendations to which objection is made.”) (internal citations and quotations omitted)

(emphasis in original). As the Fourth Circuit further stated in Midgette:

        [a] party must object to the finding or recommendation on that issue with sufficient
       specificity so as reasonably to alert the district court of the true ground for the
       objection . . . . To conclude otherwise would defeat the purpose of requiring
       objections. We would be permitting a party to appeal any issue that was before the
       magistrate judge, regardless of the nature and scope of objections made to the
       magistrate judge’s report. Either the district court would then have to review every
       issue in the magistrate judge’s proposed findings and recommendations or courts of
       appeals would be required to review issues that the district court never considered.
       In either case, judicial resources would be wasted and the district court’s
       effectiveness based on help from magistrate judges would be undermined.

Id. at 622. See also Fed. R. Crim. P. 59(b)(2) (requiring objecting party to file “specific, written

objections to the proposed findings and recommendations”) (emphasis added).

       Here, objections to Magistrate Judge VanDervort’s PF&R were due by December 7, 2009,

pursuant to 28 U.S.C. § 636(b)(1) and Fed. R. Crim. P. 59. Defendant Kritt timely filed objections

on December 2, 2009. [Docket 84]. The undersigned now reviews de novo the portions of

Magistrate Judge VanDervort’s PF&R to which Defendant Kritt objected.

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                                         I. BACKGROUND

        Defendant Anthony Kritt is a Maryland resident and attorney. He was charged—along with

Dr. Randy Michael Brodnik, an osteopathic physician in Bluefield, West Virginia—in six counts

of a seven count Indictment filed on March 18, 2009. That Indictment charged Defendant Kritt with

conspiring to defraud the United States of income taxes through “an elaborate ‘employee-leasing’

scheme” in violation of 18 U.S.C. § 371 (Count One) and separate counts of income tax evasion for

tax years 1999 (Count Three), 2000 (Count Four), 2001 (Count Five), 2002 (Count Six) and 2003

(Count Seven) in violation of 26 U.S.C. § 7201. [Docket 1]. By Superseding Indictment filed on

November 3, 2009, the United States added Count Eight, which charged that Defendants “did

endeavor to corruptly obstruct and impede, and did corruptly obstruct and impede, the due

administration of the internal revenue laws” and aided and abetted each other in doing so in violation

of 26 U.S.C. § 7212(a) and 18 U.S.C. § 2. [Docket 66 at 37]. The Superseding Indictment also

added Defendant Kritt to Count Two, income tax evasion for the 1998 tax year. A Second

Superseding Indictment, filed on June 2, 2010, removed Count Seven of the Superseding Indictment

for both Defendants.

        Magistrate Judge VanDervort’s PF&R of November 19, 2009 proposed that the Court deny

Defendant Kritt’s motion to dismiss indictment for lack of venue, or, in the alternative, to transfer

to the District of Maryland. He also proposed that Defendant Kritt’s motion to dismiss and motion

for a bill of particulars be denied.




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       Defendant Kritt filed five objections to the PF&R, four of which the Court reviews today.1

The Court will review his objections in turn.2

                               II. OBJECTIONS AND DISCUSSION

       A. Venue

       Defendant Kritt objects to Magistrate Judge VanDervort’s proposed finding on venue:

       Defendant maintains venue is inappropriate because it has not been specifically pled
       in the indictment. Alternatively, venue is more convenient for Defendant in the
       district of Maryland. On page 8 of the Magistrate Judge’s decision he states “The
       Indictment does not state specify which overt and affirmative acts occurred here.”
       He then goes on to erroneously conclude that because Defendant Brodnik’s
       corporation is located in West Virginia, venue is proper. The indictment must
       provide the Defendant with adequate information in order to prepare a defense. It
       fails to do so with respect to venue.

(Docket 84 at p. 1). Some of this objection by Defendant Kritt is generalized, and does not require

de novo review. His argument that “[t]he Indictment does not state specify which overt and

affirmative acts occurred here” is a generalized objection that simply repeats the argument that he

made in his original motion to dismiss the indictment for lack of venue. It does not provide the

undersigned with sufficient specificity as to the true ground for said objection. Accordingly, the


1
  Defendant Kritt’s first objection relates to Magistrate Judge VanDervort’s proposed finding on
Defendant Kritt’s argument that the applicable tax law was undecided. However, that argument, part
of Defendant Kritt’s motion to dismiss, was reiterated by Defendant Kritt in his motion to dismiss
the Superseding Indictment. That argument was addressed in the court’s memorandum opinion of
April 29, 2010 [Docket 138]. Accordingly, this Court OVERRULES said objection.
2
  Defendant Kritt again raised the issues of the statute of limitations and multiplicity in his motion
to dismiss the Superseding Indictment. In his PF&R of February 17, 2010, Magistrate Judge
VanDervort addressed those arguments by referring to the PF&R currently at issue in this
memorandum opinion. Defendant Kritt did not file any objections to that particular proposed
finding, thus possibly waiving review of those issues. However, out of an abundance of caution, the
undersigned will assume that Defendant Kritt intended these objections to apply to the PF&R of
February 17, 2010, and will thus review Magistrate Judge VanDervort proposed findings on those
matters.

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undersigned will only review Defendant Kritt’s contentions that venue was not specifically pled; that

Magistrate Judge VanDervort erroneously concluded that venue in the Southern District of West

Virginia is proper because Defendant Brodnik’s medical practice was located in Bluefield, West

Virginia; and that the indictment failed to provide Defendant Kritt with adequate information on

venue for his defense.

        Defendant Kritt’s objections on the matter of venue are unfounded. Contrary to his

assertions, the Court finds that venue was pled in the indictments in this case, and that the

indictments provided Defendant Kritt with adequate information regarding venue in order to prepare

a defense. Paragraph 7 of Count One alleges that Defendants conspired within the Southern District

of West Virginia, and Paragraph 12 of said Count alleges that various overt acts (enunciated in

Paragraphs 13 through 45) were committed by Defendant Kritt within the Southern District of West

Virginia. Further, Paragraph Two of Counts Two through Six of the Second Superseding Indictment

allege that Defendants, “in the Southern District of West Virginia and elsewhere” did attempt to

evade Defendant Brodnik’s tax obligations.

        Defendant Kritt’s objection that Magistrate Judge VanDervort erroneously concluded that

venue in the Southern District of West Virginia is proper due to the location of Defendant Brodnik’s

medical practice is also unfounded. The Constitution gives criminal defendants the right to be tried

in the judicial district in which the offenses occurred. United States v. Griley, 814 F.2d 967, 973

(4th Cir. 1987). This right is included in Article III, Section 2 of the Constitution (stating that “[t]he

trial of all crimes . . . shall be held in the state where the said crimes shall have been committed”)

and the Sixth Amendment (stating that “the accused shall enjoy the right to a speedy and public trial,

by an impartial jury of the state and district wherein the crime shall have been committed”). Further,



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Rule 18 of the Federal Rules of Criminal Procedure states that except as otherwise permitted, “the

government must prosecute an offense in a district where the offense was committed. However, the

Constitution “requires only that venue be determined from the nature of the crime and the location

of the acts constituting it.” United States v. Cofield, 11 F.3d 413, 419 (4th Cir.1993).3

       An indictment that is returned by a legally constituted and unbiased grand jury is, if valid

on its face, enough to call for a trial on the merits. Costello v. United States, 350 U.S. 359, 408-09

(1953). A court does not need to look behind an indictment to see if it is supported by adequate or

competent evidence. See United States v. Mills, 995 F.2d 480, 487 (4th Cir. 1993) (stating that

“courts lack authority to review either the competency or sufficiency of evidence which forms the

basis of an indictment and may not quash indictments when the errors which produce them, such as

prosecutorial misconduct or violation of a statute, do not affect substantial rights.”). An indictment

must contain the elements of the charged offense, and sufficiently apprise the defendant of what he

must be prepared to meet.

       The Court finds that venue in the Southern District of West Virginia is proper, given the

allegations of the Second Superseding Indictment, and will “not . . . look behind [the indictments

in this case] to see if it is supported by adequate or competent evidence.” Mills, 995 F.2d at 487.

The Court also finds that the Second Superseding Indictment has provided Defendant Kritt with

sufficient information to prepare a defense with respect to venue, as it alleges acts within the



3
  While the U.S. Constitution, Bill of Rights, Federal Rules of Criminal Procedure, and federal law
give defendants the right to be tried in the judicial district in which the offense(s) occurred, they do
not guarantee defendants the right to the venue that is “more convenient” for them when venue is
otherwise proper in a different judicial district. The undersigned accordingly dismisses the
objection/contention of Defendant Kritt that venue in the District of Maryland would be “more
convenient.” However, the undersigned will review the possibility of venue in the District of
Maryland in reviewing Defendant Kritt’s third objection to the PF&R. See Part II.B, supra.

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Southern District of West Virginia.         Accordingly, Defendant Kritt’s second objection is

OVERRULED.

       B. Transfer

       In his third Objection, Defendant Kritt takes issue with Magistrate Judge VanDervort’s

proposed finding on transfer. He argues that in his discussion of the issue of transfer, Magistrate

Judge VanDervort “erroneously places cost to the United States over the important considerations

for the Defendant to be tried in his home state.” (Docket 84 at 2). The Court finds that this objection

is without merit.

       There are ten factors to consider in determining whether transfer of a proceeding to another

District is appropriate: “(1) location of corporate witnesses; (2) location of possible witnesses; (3)

location of events likely to be in issue; (4) location of documents and records likely to be involved;

(5) disruption of defendant’s business unless the case is transferred; (6) expense to the parties; (7)

location of counsel; (8) relative accessibility of place of trial; (9) docket condition of each district

or division involved; and (10) any other special elements which might affect the transfer.”4 Platt

v. Minnesota Mining & Manufacturing Co., 376 U.S. 240, 243-44 (1964). To merit a transfer, a

defendant must show that the prosecution in the district where the count was properly returned will

result in a substantial balance of inconvenience to the defendant. United States v. Hurwitz, 573 F.

Supp. 547, 552 (S.D. W. Va. 1983) (Haden, C.J.). Moreover, a defendant’s residence is only

relevant in the presence of other factors. United States v. Quinn, 401 F. Supp.2d 80, 86-87 (D.D.C.

2005) (stating that “although the defendant’s residence is ‘a factor to be considered,’ it is ‘not the



4
  A possible eleventh factor, a volcanic eruption in the Southern District of West Virginia, see
United States v. McDonald, 740 F. Supp. 757, 763-64 (D. Alaska 1990), does not appear to be
currently at issue in this case.

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controlling factor,’ and indeed its significance derives ‘solely from its relationship to the

convenience of witnesses, records, and counsel.’”) (internal citations omitted); see also United

States v. Spy Factory, Inc., 951 F. Supp. 450, 463-65 (S.D.N.Y. 1997) (recognizing a “general

presumption that ‘a criminal prosecution should be retained in the original district.’”) (internal

citations omitted) (Sotomayor, J.).

       Magistrate Judge VanDervort concluded in the PF&R that transfer to the District of

Maryland would inconvenience Defendant Brodnik, and that severance of the Defendants would

inconvenience the United States. He also found that the

       scheme alleged in the Indictment involved a West Virginia entity and funds which
       Defendant Brodnik earned as a doctor in Southern West Virginia, and some of the
       overt and affirmative acts in furtherance of the scheme allegedly occurred in the
       Southern District of West Virginia. These are the most important factors weighing
       against transfer. The remaining factors do not affect the balance. Wherever this
       matter is docketed, Defendant will experience a disruption of his business as he
       attends Court proceedings and trial. Defendant is well represented in this District,
       and documents and records are easily copied and transported wherever they were
       originally located.

(Docket 79 at 11). After de novo review, the Court finds no error. Magistrate Judge VanDervort

did not erroneously place cost to the United States over other considerations, and correctly

concluded that the above factor—the location of events likely to be in issue—and the others were

the most important considerations. Accordingly, the Court OVERRULES Defendant Kritt’s third

objection.

       C. Statute of Limitations

       Defendant Kritt, in his fourth objection, disagrees with Magistrate Judge VanDervort’s

proposed finding on the statute of limitations. Magistrate Judge VanDervort disagreed with

Defendant Kritt’s contention that the six year statute of limitations under 26 U.S.C. Sec. 6531



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applies to Counts Three, Four, and Five of the Indictment. In his objection, Defendant Kritt simply

states that “[o]n pages 14, 15, and 16 the Magistrate Judge discusses the issue of the statute of

limitations. He then concludes that because the last affirmative act occurred five months before

indictment, the statute of limitations has not run. The government knows Tony Kritt had nothing

to do with the last affirmative act.” (Docket 84 at 2). This statement does not cite to an error on the

part of Magistrate Judge VanDervort, but rather to the thought processes of the United States. This

statement also merely repeats the arguments of Defendant Kritt’s memorandum in support of his

motion to dismiss, where he wrote “[a]ssuming the filing of an amended return which discloses

offshore funds is an affirmative act of evasion, Mr. Kritt had nothing to do with the amended returns.

His involvement with Dr. Brodnik had ended years previous and Dr. Brodnik filed the amended

return per the guidance of a different lawyer.” (Docket 35 at 23). The undersigned accordingly

declines to review this generalized objection, as it does not provide the undersigned with sufficient

specificity as to error on the part of Magistrate Judge VanDervort, and OVERRULES it.

       D. Multiplicity

       Finally, Defendant Kritt objects to Magistrate Judge VanDervort’s proposed finding that

there was no multiplicity in the indictment. In his objection, Defendant Kritt argues that Magistrate

Judge VanDervort’s analysis “is incorrect because the same conspiracy language is contained in all

counts of the indictment.” (Docket 84 at 2).

       However, this objection is without merit. “Multiplicity . . . is ‘the charging of a single

offense in several counts.’ The signal danger in multiplicitous indictments is that the defendant may

be given multiple sentences for the same offense .” United States v. Burns, 990 F.2d 1426, 1438

(4th Cir. 1993) (internal citation omitted). When the same criminal conduct is alleged as the basis



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for two offenses, the Court is required “to look to whether each charged offense requires proof of

some fact that the other does not require.” United States v. Goodine, 400 F.3d 202, 207 (4th Cir.

2005), citing Blockburger v. United States, 284 U.S. 299, 304 (1932). As noted, Defendant Kritt

is charged with conspiring to defraud the United States of income taxes in violation of 18 U.S.C. §

371 (Count One) and separate counts of income tax evasion for tax years 1998 (Count Two), 1999

(Count Three), 2000 (Count Four), 2001 (Count Five), and 2002 (Count Six) in violation of 26

U.S.C. § 7201. To prove a violation of 18 U.S.C. § 371, the United States must show “‘(1) the

existence of an agreement, (2) an overt act by one of the conspirators in furtherance of the

[agreement’s] objectives, and (3) an intent on the part of the conspirators to agree, as well as to

defraud the United States.’” United States v. Vogt, 910 F.2d 1184, 1202 (4th Cir. 1990). Further,

“[t]o obtain a conviction under [26 U.S.C. § 7201], the Government must prove willfulness, a

substantial tax deficiency, and an affirmative act constituting an attempted evasion of the tax.”

United States v. Goodyear, 649 F.2d 226, 227-28 (4th Cir. 1981). Even though conspiracy language

is contained in both Count One and Counts Two through Six, these counts, respectively, require

proof of some fact that the others do not require. Accordingly, Defendant Kritt’s objection is

OVERRULED.




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                                        III. CONCLUSION

       For the reasons stated above, the Court OVERRULES Defendant Kritt’s Objections [Docket

84], ADOPTS the PF&R [Docket 79], and ORDERS Defendant Kritt’s Motion to Dismiss

Indictment for Lack of Venue or, in the Alternative, to Transfer to the District of Maryland [Docket

29]; Motion to Dismiss [Docket 34]; and Motion for Bill of Particulars [Docket 36] DENIED.

       The Court DIRECTS the Clerk to send a copy of this Order to the Defendant and counsel,

and the United States Attorney.

                                              ENTER:         June 8, 2010




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